Case 5:24-cv-00267-SMH-KDM Document 1 Filed 02/23/24 Page 1 of 6 PageID #: 1




                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                             SHREVEPORT DIVISION


ZINA M. MITCHELL                          §         DOCKET NO.:

VERSUS                                          § JUDGE

BROOKSHIRE GROCERY COMPANY                      § MAGISTRATE JUDGE


                                 NOTICE OF REMOVAL


       NOW INTO COURT, through undersigned counsel, comes BROOKSHIRE

GROCERY COMPANY, defendant herein, who, respectfully represents that:

                                              1.

       Plaintiff, ZINA M. MITCHELL, has asserted a civil cause of action against

BROOKSHIRE GROCERY COMPANY seeking to recover damages for personal injuries

allegedly sustained as a result of a slip and fall which allegedly occurred on or about March

16, 2023, in Shreveport, Caddo Parish, Louisiana.

                                              2.

       Defendant, BROOKSHIRE GROCERY COMPANY, is incorporated in the State of

Texas, and its principal place of business is in the State of Texas.




                                              -1-
Case 5:24-cv-00267-SMH-KDM Document 1 Filed 02/23/24 Page 2 of 6 PageID #: 2




                                              3.

      Plaintiff, ZINA M. MITCHELL, upon information and belief, is a citizen of the State

of Louisiana.

                                              4.

      The Petition for Damages of ZINA M. MITCHELL was filed in the First Judicial

District Court, Caddo Parish, Louisiana, on February 2, 2024. A copy of the Petition is

attached hereto as Exhibit “A”.

                                              5.

      Although no responsive pleadings have been filed in the state court proceeding,

undersigned counsel does represent BROOKSHIRE GROCERY COMPANY, the

defendant named in this case.

                                              6.

      Article 893 A(1) of the Louisiana Code of Civil Procedure provides:

      No specific monetary amount of damages shall be included in the allegations
      or prayer for relief of any original, amended or incidental demand. The prayer
      for relief shall be for such damages as are reasonable in the premises except
      that if a specific amount of damages is necessary to establish jurisdiction of
      the court, the right to a jury trial, the lack of jurisdiction of federal courts due
      to insufficiency of damages, or for other purposes, a general allegation that
      the claim exceeds or is less than the requisite amount is required. By
      interrogatory, an opposing party may seek specification of the amount sought
      as damages, and the response may thereafter be supplemented as
      appropriate.




                                              -2-
Case 5:24-cv-00267-SMH-KDM Document 1 Filed 02/23/24 Page 3 of 6 PageID #: 3




                                             7.

       Despite the mandate of Article 893 A(1) as set forth above, plaintiff made no

allegation in the Petition regarding the amount in controversy. Specifically, there was no

reference to the $75,000.00 threshold necessary for removal of the state court action to

federal court under 28 U.S.C. Section 1332(a). Thus, the amount in controversy is not

ascertainable based on the Petition filed on behalf of plaintiff.

                                             8.

       Plaintiff does allege in Paragraph 10 of the Petition that she suffered “pain, mental

anguish, and distress” and sets forth her injuries as:

              “a.    Injury to her shoulder including adhesive capsulitis and
                     rotator cuff tear of left shoulder which required surgery;

              b.     Fractured left foot which required surgery to implant
                     screws and ongoing physical therapy;

              c.     Shoulder pain;

              d.     Loss of enjoyment of life and disability;

              e.     Mental distress;

              f.     past and future pain and suffering;

              g.     Other injuries which will be presented at trial such as pain
                     and suffering, inconvenience and mental distress; and

              h.     Wage loss, and lost earning capacity;

              I.     Past, present and future medical expenses.”



                                              -3-
Case 5:24-cv-00267-SMH-KDM Document 1 Filed 02/23/24 Page 4 of 6 PageID #: 4




                                               9.

       Plaintiff also itemizes damages in Paragraph 11 of the Petition to include past,

present, and future medical expenses, pain and suffering, mental anguish and distress, lost

earning capacity, and future lost wages, all of which she contends is related to the incident

giving rise to plaintiff’s suit against Brookshire Grocery Company.

                                              10.

       There is complete diversity of citizenship between the plaintiff and defendant.

                                              11.

       BROOKSHIRE GROCERY COMPANY was served with plaintiff’s Petition for

Damages through its agent for service of process, CT Corporation, on February 15, 2024.

                                              12.

       This Removal is timely in that it is filed within thirty days from service of the Petition

on BROOKSHIRE GROCERY COMPANY.

                                              13.

       Pursuant to 28 U.S.C. Section 1332(a), this court has original jurisdiction over this

matter.

                                              14.

       This matter is properly removable to the Western District of Louisiana, Shreveport

Division, from the state court in Caddo Parish, Louisiana.




                                              -4-
Case 5:24-cv-00267-SMH-KDM Document 1 Filed 02/23/24 Page 5 of 6 PageID #: 5




                                              15.

       Upon filing of this Notice of Removal, BROOKSHIRE GROCERY COMPANY will

give written notice to plaintiff and will file a copy of the Notice of Removal with the Clerk of

Court of the First Judicial District Court for the Parish of Caddo.

       WHEREFORE, BROOKSHIRE GROCERY COMPANY prays that this Notice of

Removal be deemed good and sufficient and that the suit entitled “Zina M. Mitchell v.

Brookshires Grocery Company d/b/a Brookshire Grocery Company #18,” Number 648417

on the docket of the First Judicial District Court, Caddo Parish, Louisiana, shall be removed

to this Court and that the First Judicial District Court, Caddo Parish, Louisiana, case shall

proceed no further therein, unless the case is remanded.

                                    Respectfully submitted,

                                    LUNN IRION LAW FIRM LLC

8670 Box Road, Building A
Shreveport, LA 71106                By:      /s/ James A. Mijalis
Phone: (318) 222-0665                        JAMES A. MIJALIS
Fax: (318) 220-3265                          Bar No. 17057
Email: jam@lunnirion.com            ATTORNEYS FOR DEFENDANT, BROOKSHIRE
                                    GROCERY COMPANY




                                              -5-
Case 5:24-cv-00267-SMH-KDM Document 1 Filed 02/23/24 Page 6 of 6 PageID #: 6




                                     CERTIFICATE

       I HEREBY CERTIFY that on February 23, 2024, a copy of the foregoing Notice of

Removal was filed electronically with the Clerk of Court using the CM/ECF system. Notice

of this filing will be sent to Mr. Nelson W. Cameron by operation of the court’s electronic

filing system and via email.

                                                         /s/ James A. Mijalis
                                                            OF COUNSEL




                                            -6-
